     Case 25-01056      Doc 13     Filed 07/01/25 Entered 07/01/25 10:23:56           Desc Main
                                     Document     Page 1 of 4




                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS


 In re:

 BRIAN A. TANGUY,                                           Chapter 7
                                                            Case No. 25-10096-JEB
                  Debtor


 BRIAN STROUT,
 KERRI STROUT

                  Plaintiffs,
                                                            Adversary Proceeding
 v.                                                         No. 25-01056-JEB

 BRIAN A. TANGUY,

                  Defendant


                            Preliminary Scheduling and Pretrial Order

1.        Pretrial Hearing. A Pretrial Hearing is scheduled for August 6, 2025, at 10:30 a.m.,
          in Courtroom 3, J.W. McCormack Post Office & Court House, 5 Post Office Square, 12th
          Floor, Boston, MA 02109. Parties shall be prepared to discuss their Discovery Plan to be
          filed as provided below and whether the intended scope of discovery is proportional to
          the needs of the case as contemplated by Fed. R. Civ. P. 26(b)(1). The Court shall enter a
          further case management order after conducting the Pretrial Hearing, which shall
          constitute the order contemplated by Fed. R. Civ. P. 16(b)(1). The Discovery Plan must
          be based on the deadlines set forth in this Order. The Court will only consider
          extensions of the deadlines if good cause is demonstrated.

2.        Compliance Required. Unless otherwise ordered, the parties shall comply with all
          obligations and deadlines set forth in this Order.

3.        Cooperation. The parties and their counsel, if applicable, must cooperate during all
          aspects of discovery. Failure by any party or counsel to make required disclosures or
          cooperate in discovery may warrant the imposition of sanctions under Fed. R. Civ. P. 37.
     Case 25-01056     Doc 13     Filed 07/01/25 Entered 07/01/25 10:23:56             Desc Main
                                    Document     Page 2 of 4



4.       Duty to Preserve Evidence. The parties shall preserve evidence relevant to the issues
         raised by the pleadings, including electronically stored information. If a party is
         represented, then no later than July 8, 2025, such party’s counsel shall confer with their
         client regarding the duties of parties to preserve evidence and the provisions of Fed. R.
         Civ. P. 37(e). As provided below, in the Rule 26(f) Conference Report, such counsel shall
         confirm to the Court that they have conferred with their client regarding the duty to
         preserve evidence and the provisions of Fed. R. Civ. P. 37(e).

5.       Proportionality in Discovery. Pursuant to Fed. R. Civ. P. 26(b)(1) and 26(g), the
         discovery in this case shall be proportional to the needs of the case, considering the
         importance of the issues at stake in the action, the amount in controversy, the parties'
         relative access to relevant information, the parties' relative resources, the importance of
         the discovery in resolving the issues, and whether the burden or expense of the proposed
         discovery outweighs its likely benefit.

6.       Rule 26(f) Discovery Conference. The parties are ordered to confer as soon as possible
         pursuant to Fed. R. Civ. P. 26, but no later than July 15, 2025.

7.       Rule 26(a) Automatic Disclosures. Disclosures under Fed. R. Civ. P. 26(a)(1) must be
         completed by July 22, 2025.

8.       Rule 26(f) Discovery Conference Certification and Written Report. After the Rule
         26(f) Discovery Conference, but no later than July 29, 2025, the parties shall file a
         written report containing:

         a.    A certification that the Rule 26(f) Discovery Conference has taken place.

         b.    If a party is represented, a certification by such party’s counsel that counsel has
               conferred with their client regarding the duties of parties to preserve evidence and
               the provisions of Fed. R. Civ. P. 37(e).

         c.    A proposed Discovery Plan that addresses all topics set forth in Fed. R. Civ. P.
               26(f)(3) and, if applicable, contains protocols for the discovery or disclosure of
               electronically stored information. As reflected above, the Discovery Plan must be
               based on the deadlines set forth in this Order. If the parties request extension
               of any deadline, they must file a motion setting forth good cause for the
               extension requested.

         d.    A statement that the parties have complied with the automatic disclosure provisions
               of Fed. R. Civ. P. 26(a)(1) and this Order.

         e.    In the event any party anticipates the disclosure or discovery of electronically
               stored information,

                i.      a certification that the parties have conferred regarding:

                        1.      the nature and extent of the contemplated discovery of
                                electronically stored information;

                                                  2
     Case 25-01056     Doc 13      Filed 07/01/25 Entered 07/01/25 10:23:56            Desc Main
                                     Document     Page 3 of 4



                        2.      any issues involving the preservation, disclosure, discovery, or
                                presentation of electronically stored information, including the
                                form (or forms) in which the electronically stored information will
                                be provided;

                        3.      the various sources of electronically stored information within a
                                party's control;

                        4.      the characteristics of the parties' information systems that may
                                contain relevant electronically stored information, including, if
                                appropriate, the identity of individuals with special knowledge of a
                                party's computer systems; and

                        5.      whether either party has relevant electronically stored information
                                that the party contends is not reasonably accessible pursuant to
                                Fed. R. Civ. P. 26(b)(2)(B); and

                ii.     if either party contends that relevant information is not reasonably
                        accessible pursuant to Fed. R Civ. P. 26(b)(2)(B), the estimated burden or
                        costs of retrieving and reviewing that information.

         f.    A statement regarding the Court's authority to enter a final order as to each matter
               in dispute.

         g.    A statement as to whether each party consents to the entry of a final order by this
               Court as to each matter in dispute.

         h.    An estimated length of trial.

         i.    In the event any party has demanded a jury trial, a statement identifying:

                i.      the specific matters to which the jury demand applies;

                ii.     the legal basis for the right to a jury trial; and

                iii.    whether all parties consent to this Court conducting a jury trial.

9.       Expert Witness Disclosures. Disclosures under Fed. R. Civ. P. 26(a)(2), including the
         disclosure of the expert witness written report required by Fed. R. Civ. P. 26(a)(2)(B),
         must be completed by October 1, 2025, unless otherwise ordered by the Court upon
         motion or after consideration of the Discovery Plan.

10.      Completion of Discovery. Discovery must be completed by October 1, 2025, unless
         otherwise ordered by the Court upon motion or after consideration of the Discovery Plan.

11.      Discovery-Related Disputes and Motions. Pursuant to Fed. R. Civ. P. 16(b)(3)(B)(v),
         no discovery-related motion may be filed unless the moving party has attempted in good

                                                    3
  Case 25-01056        Doc 13   Filed 07/01/25 Entered 07/01/25 10:23:56            Desc Main
                                  Document     Page 4 of 4



       faith, but without success, to resolve the dispute and has requested a pre-motion
       conference with the Court to discuss the dispute and to attempt to resolve it informally.
       The request must be made by filing a one-page written request with the Court that
       contains only a general summary of the issues to be discussed. Any request for a pre-
       motion conference shall not contain argument. No response to the request should be filed
       unless directed by the Court. If the Court does not grant the request for a pre-motion
       conference, or if the conference fails to resolve the dispute, a discovery motion may be
       filed.

12.    Failure to Comply with this Order. This Order and the deadlines set by the Court may
       not be modified absent further Court order. Failure to comply with the provisions of this
       Order may, pursuant to Fed. R. Civ. P. 16 and 37, result in sanctions, including the entry
       of a dismissal or default, exclusion of evidence or testimony, or monetary sanctions.


                                                          By the Court,
 Dated: July 1, 2025




                                                          Janet E. Bostwick
                                                          United States Bankruptcy Judge




                                                4
